
666 S.E.2d 122 (2008)
David P. MAJORS
v.
Glenn A. MAJORS, individually and as Executor of the Estate of Patrick Hershel Majors and Patricia Majors Fowlkes.
No. 156P08.
Supreme Court of North Carolina.
August 26, 2008.
H. Clay Hodges, Donald J. Harris, Raleigh, for Glenn Majors, et al.
Donald D. Sayers, Salisbury, for David Majors.

ORDER
Upon consideration of the petition filed on the 8th day of April 2008 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
